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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 American Environmental Enterprises, Inc.         :
 d/b/a THESAFETYHOUSE.COM                         :
                      Plaintiff,                  :
 v.                                               :          CIVIL ACTION
 Manfred Sternberg, Esquire; Manfred              :          No. 2022-CV-00688(JMY)
 Sternberg & Associates, PC; Charlton             :
 Holdings Group, LLC; Samuel Gross; Gary          :
 Weiss; A. Solar, LLC; Daphna Zekaria, Esq.;      :
 and, Sokolski & Zekaria, PC,                     :
                     Defendants,                  :
                                                  :

                                               ORDER


        AND NOW, on this                day of         , 2024, upon consideration of the Motion of

Defendants Manfred Sternberg, Esquire and Manfred Sternberg & Associates, PC to Briefly Extend

Discovery, and of any responses thereto, and upon good cause shown, it is hereby ORDERED that

the Motion is GRANTED, and discovery is extended as follows:

        The fact discovery deadline shall be extended from July 19, 2024 to July 23, 2024;

        All other dates and deadlines shall remain as set forth in the Court’s March 20, 2024

Amended Scheduling Order.

                                                 IT IS SO ORDERED.

                                                 BY THE COURT:




                                                 JUDGE JOHN MILTON YOUNGE




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